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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

SANDOR DEMKOVICH,                               )
                                                )
                        Plaintiff,              )
                                                )
                v.                              )     No. 16-cv-11576
                                                )     Hon. Edmond E. Chang
ST. ANDREW THE APOSTLE PARISH,                  )
CALUMET CITY, and THE                           )
ARCHDIOCESE OF CHICAGO,                         )
                                                )
                        Defendants.             )

                      DEFENDANTS' MOTION FOR CERTIFICATION OF
                     INTERLOCUTORY APPEAL UNDER 28 U.S.C. §1292(b)

        Defendants, St. Andrew the Apostle Parish, Calumet City (the "Parish"), and the

Archdiocese of Chicago (the "Archdiocese") (collectively "Defendants"), by and through their

attorneys, move for certification of interlocutory appeal pursuant to 28 U.S.C. §1292(b) ("Section

1292(b)"), and in support state as follows:

                                         INTRODUCTION

        Defendants seek to certify for interlocutory appeal the question whether a minister's

hostile work environment discrimination claim, arising out of federal employment statutes, is

barred as a matter of law by the ministerial exception.           This question satisfies the four

requirements for interlocutory appeal pursuant to Section 1292(b): (1) it involves a pure question

of law; (2) the question is controlling upon the outcome of this litigation; (3) the question is

contestable, including that other circuits have reached different opinions as to this question, and it

would be a question of first impression for the Seventh Circuit; and (4) resolution of the question

has the potential to expedite the litigation.
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                 PROCEDURAL HISTORY OF DEFENDANTS' MOTION

       Plaintiff was the "Music Director, Choir Director, and Organist" at a parish of the

Archdiocese of Chicago. Following his termination, on December 22, 2016, Plaintiff filed a

complaint alleging employment discrimination based on, among other claims, (1) sex, sexual

orientation, and marital status under Title VII, 42 U.S.C. § 2000e et seq., and (2) disability under

the Americans with Disabilities Act, 42 U.S.C. § 12112 et seq. [Dkt. 1, Compl., ¶ 1]. On

September 29, 2017, this Court dismissed Plaintiff's complaint in its entirety, finding that he "was

a minister for the purposes of the ministerial exception." [Dkt. 15, p. 7].

       Given leave to amend, Plaintiff conceded both that he was a minister and that his federal

employment discrimination claims arising from his termination were barred under Hosanna-

Tabor Evangelical Lutheran Church and School v. EEOC et al., 565 U.S. 171 (2012), but

attempted to plead around the ministerial exception by re-packaging his claims to allege that the

same conduct constituted an actionable "hostile work environment" -- i.e., a form of

discrimination based on sex or disability -- which, in Plaintiff's view, was independently

actionable and not subject to the ministerial exception. [Dkt. 16].

       On November 27, 2017, Defendants again moved to dismiss based on the ministerial

exception and the First Amendment. On September 30, 2018, this Court granted Defendants'

motion as to Plaintiff's sex, sexual orientation, and marital status hostile work environment

claims, but denied dismissal of Plaintiff's disability discrimination hostile work environment

claim, finding that the ministerial exception did not apply primarily because the Archdiocese

offered no religious justification for the alleged discrimination. [Dkt. 36].

       On October 25, 2018, Appellants moved to reconsider and to stay answering the

remaining claim pending reconsideration. [Dkt. 38, 40]. On October 29, 2018, this Court denied

the motion to stay [Dkt. 43], and at the January 23, 2019 status orally indicated that the parties

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should expect that he would be denying the motion to reconsider (but was not yet ready to

formally rule), and ordered the parties to commence discovery. [Dkt. 54].

       Defendants filed a notice of appeal pursuant to the collateral order doctrine on March 6,

2019 [Dkt. 55]. Defendants further moved to stay this litigation pending appeal. [Dkt. 56]. On

March 12, 2019, the issue of Section 1292(b) appeal was raised in open court, and the Court

instructed the parties to confer on whether there was agreement to "certif[y] respective legal

questions." [Dkt. 62]. On March 19, Plaintiff's counsel indicated Plaintiff did not agree to

certification. At the March 20, 2019 status, counsel raised whether the Court would entertain a

Section 1292(b) motion without party agreement (or if it intended to outright deny such motion).

At that time, the Court indicated it would be ruling upon the motion to reconsider and provided

Defendants a deadline by which to file their Section 1292(b) motion. [Dkt. 63].

                                QUESTION TO BE CERTIFIED

       Defendants respectfully request that the Court certify for appeal, pursuant to Section

1292(b), the following question: "whether a minister's hostile work environment discrimination

claim, arising out of federal employment statutes, is barred as a matter of law by the ministerial

exception?" As discussed below, this question presents an issue for interlocutory review that

meets all four of the Section 1292(b) criteria.

                                           ARGUMENT

I.     Applicable Legal Standard

       Section 1292(b) provides for an interlocutory appeal if the underlying order "involves a

controlling question of law as to which there is substantial ground for difference of opinion" and

if "an immediate appeal from the order may materially advance the ultimate termination of the

litigation." 28 U.S.C. §1292(b). Four criteria must be satisfied: (1) there must be a question of

law; (2) the question must be controlling; (3) the question must be contestable; and (4) the

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resolution of the question must have the potential to speed up the litigation. Ahrenholz v. Board

of Trs. of Univ. of Ill., 219 F.3d 674, 675-76 (7th Cir. 2000) (granting interlocutory appeal).

        Interlocutory appeals serve a number of important purposes: they "avoid injustice by

quickly correcting a trial court's error," and "simplify, or more appropriately direct, the future

course of litigation[,] . . . thereby reduc[ing] the burdens of future proceedings, [and] perhaps

freeing a party from those burdens entirely." Johnson v. Jones, 515 U.S. 304, 309-10 (1995).

Accordingly, when the requirements of Section 1292(b) are satisfied, it is "the duty of the district

court . . . to allow an immediate appeal." Ahrenholz, 219 F.3d at 677.

II.     All Four Criteria For Interlocutory Certification Are Present.

        First, the issue of whether Plaintiff's claim falls within the ambit of the ministerial

exception is a question of law. See, Alicea-Hernandez v. Archdiocese of Chicago, 01 C 8374,

2002 WL 598517, *4 (N.D. Ill. Apr. 18, 2002) (aff'd 320 F.3d 698 (7th Cir. 2003)) ("applicability

of the ministerial exception is a question of law for the court").

        Second, the question is controlling. The Seventh Circuit defines a "controlling question

of law" as an issue "the court of appeals could decide quickly and cleanly without having to study

the record… ." Ahrenholz, 219 F.3d at 676-77. It is a question where "its resolution is quite

likely to affect the further course of the litigation, even if not certain to do so." Sokaogon

Gaming Enter. v. Tushie-Montgomery Assoc. 86 F.3d 656, 659 (7th Cir. 1996) (granting

interlocutory appeal). Here, whether Plaintiff's disability discrimination claim is barred by the

ministerial exception may be decided without regard to the record, and if ruled in Defendants'

favor, would resolve this litigation.

        Third, the question is contestable. A movant demonstrates that there is substantial ground

for difference of opinion by satisfying one of the following tests: (1) the issue is one of first



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impression (Drnek v. City of Chicago, 205 F. Supp. 2d 894, 900 (N.D. Ill. 2002) (holding that an

issue was contestable for purposes of § 1292(b) because it was a question of first impression); (2)

the issue is one on which other courts disagree (In re Brand Name Prescription Drugs Antitrust

Litig., 1998 WL 808992, at *5 (N.D. Ill., Nov. 17, 1998)); or (3) there is a central question of law

that is not settled by "controlling authority," and there is a "substantial likelihood" that the district

court's order will be reversed on appeal. Id. Here, the Tenth Circuit held in Skrzypczak v. Roman

Cath. Diocese of Tulsa, 611 F.3d 1238 (10th Cir. 2010) that a hostile environment claim was

barred by the ministerial exception as a matter of law. Conversely, the earlier Ninth Circuit's

decisions in Bollard v. Cal. Province of The Society of Jesus, 196 F.3d 940 (9th Cir. 1999) and

Elvig v. Calvin Presby. Church, 375 F.3d 951 (9th Cir. 2004) held that the exception did not

apply to that claim, even where the plaintiff was a ministerial employee. Absent a Seventh

Circuit decision directly on point, this Court followed the Ninth Circuit. Thus, there is a

disagreement among circuits, and the Seventh Circuit has not yet ruled on this issue, making it a

case of first impression.

        Fourth, the resolution of the question has the potential to speed up the litigation. A

Section 1292(b) appeal materially advances the completion of the litigation "if its disposition is

conclusive on the contested issue." Neal v. Honeywell, Inc., 191 F.3d 827, 830 (7th Cir. 1999).

Here, resolution of the proposed certified question would be conclusive in that, if Defendants are

correct, the ministerial exception serves as an absolute bar to Plaintiff's claim.

        III.    This Motion Is Timely

    When Defendants were faced with a direct order to proceed with discovery (which they

contend was a violation of their First Amendment rights), Defendants began analyzing their

potential avenues for interlocutory appeal. Among the relevant factors were: (1) the timing and

discretionary nature of appeal under 28 U.S.C. §1292(b), including the effect of any denial of

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such appeal, in the Appellate Court's discretion, upon this Court's order to commence discovery;

(2) whether a Section 1292(b) motion was appropriate while a reconsideration motion was still

pending; and (3) the applicability of the collateral order doctrine where a court had not yet

formally ruled upon a pending motion to reconsider but had ordered the commencement of

discovery.

       After (1) counsel had the opportunity to consult with Defendants and reach conclusions

about the best approach; (2) still not having received a ruling on the motion to reconsider; and (3)

receiving requests from Plaintiff's counsel relating to scheduling discovery in early March,

Defendants filed a notice of appeal pursuant to the collateral order doctrine on March 6, 2019

[Dkt. 55], just over a month after the Court's pronouncement that the parties should "expect"

denial of the reconsideration motion. Defendants further moved to stay this litigation pending

appeal. [Dkt. 56]. On March 12, 2019, the issue of Section 1292(b) appeal was raised in open

court, and the Court instructed the parties to confer on whether there was agreement to "certif[y]

respective legal questions." [Dkt. 62]. On March 19, Plaintiff's counsel indicated Plaintiff did

not agree to certification. At the March 20, 2019 status, counsel raised whether the Court would

entertain a Section 1292(b) motion without party agreement (or if it intended to outright deny

such motion). At that time, the Court indicated it would be ruling upon the motion to reconsider

and provided Defendants a deadline by which to file their Section 1292(b) motion. [Dkt. 63].

Defendants acted reasonably to seek the most expeditious route to interlocutory appeal once the

Court's discovery order was entered. Unlike collateral order review, which was justified by the

discovery order alone, Defendants had serious doubts that a Section 1292(b) certification was

proper before the Court entered an order disposing of the pending motion to reconsider. Based

upon the Court's comments in open court and the fact that the Court has now set a deadline,

Defendants respectfully submit this motion.

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                                         CONCLUSION

       Defendants proposed certified question satisfies all four requirements for Section 1292(b)

interlocutory appeal. Accordingly, this Court should certify the proposed question.

       WHEREFORE, Defendants, St. Andrew the Apostle Parish, Calumet City, and the

Archdiocese of Chicago, respectfully request that this Court certify the question "whether a

minister's hostile work environment discrimination claim, arising out of federal employment

statutes, is barred as a matter of law by the ministerial exception?" for interlocutory appeal, and

provide such other and further relief as this Court deems just.

                                              Respectfully submitted,
                                              St. Andrew the Apostle Parish, Calumet City, and
                                              the Archdiocese of Chicago

                                              By:    /s/ Alexander D. Marks
                                                     One of their attorneys

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                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on March 22, 2019, a true and correct copy

of Defendants' Motion to Certify Question for Interlocutory Appeal was filed electronically using

the Court's Electronic Case Filing System. A Notice of Electronic Filing will be sent by

electronic mail to Plaintiff's counsel of record by operation of the Court's Electronic Filing

System.



                                                           By: /s/ Alexander D. Marks



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